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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re
                                                                 Chapter 11
Lordstown Motors Corp., et al., 1
                                                                 Case No. 23-10831 (MFW)

                                        Debtors.                 (Jointly Administered)


                                      CERTIFICATE OF SERVICE

      I, Michael Villa, depose and say that I am employed by Kurtzman Carson Consultants LLC
(KCC), the claims and noticing agent for the Debtors in the above-captioned case.

        On February 20, 2024, at my direction and under my supervision, employees of KCC
caused to be served the following documents via Electronic Mail upon the service lists attached
hereto as Exhibit A and Exhibit B; and via First Class Mail upon the service lists attached hereto
as Exhibit C and Exhibit D:

    •    Notice of Agenda of Matters Scheduled for Hearing on February 22, 2024 at 10:30
         a.m. (ET) [Docket No. 996]

    •    Notice of Amended Agenda of Matters Scheduled for Hearing on February 22, 2024
         at 10:30 a.m. (ET) [Docket No. 997]

Dated: February 22, 2024
                                                               /s/ Michael Villa
                                                               Michael Villa
                                                               KCC
                                                               222 N Pacific Coast Highway, 3rd Floor
                                                               El Segundo, CA 90245
                                                               Tel 310.823.9000




1
         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’
service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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                    Exhibit A
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                                                                       Exhibit A
                                                                Core/2002 Service List
                                                               Served via Electronic Mail


               Description                         CreditorName                   CreditorNoticeName                             Email
                                                                                                               daniel.guyder@allenovery.com;
                                                                                                               bradley.pensyl@allenovery.com;
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 Group), Foxconn EV Technology, Inc.,                                        Ormand, Joseph Badtke-            joseph.badtke-berkow@allenovery.com;
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 LLC, and Foxconn EV System LLC           Allen & Overy LLP                  Spigel                            robin.spigel@allenovery.com
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 LLC, and Foxconn EV System LLC           Allen & Overy LLP                  Pearsall, Michael Modesto Gale michael.modestogale@allenovery.com
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 Corp.                                    Austria Legal, LLC                 Matthew P. Austria                maustria@austriallc.com
 Committee of Unsecured Creditors         Barry L. Leonard & Co. Inc.        Attn: Kim Parsons                 kim@trans-machine.com
 Top 30 and Committee of Unsecured        Barry L. Leonard and Company       dba Trans Machine
 Creditors                                Inc.                               Technologies                      Barry@trans-machine.com
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 Amin on behalf of themselves and
 similarly situated stockholders of                                                                            greg.varallo@blbglaw.com;
 Lordstown Motors Corp. f/k/a             Bernstein Litowitz Berger &        Gregory V. Varallo, Glenn R.      glenn.mcgillivray@blbglaw.com;
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 Counsel to Benjamin Hebert and Atri
 Amin on behalf of themselves and
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 Foxconn                                  Foxconn EV Technology, Inc.        Steven Yu                         stevenyu@foxconn.com
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                                                                Core/2002 Service List
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               Description                        CreditorName                   CreditorNoticeName                            Email
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 Top 30 and Committee of Unsecured
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                                                              Core/2002 Service List
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               Description                       CreditorName                   CreditorNoticeName                            Email
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 Technologies Ltd.                      Sullivan Hazeltine Allinson LLC    William A. Hazeltine              whazeltine@sha-llc.com
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 John LaFleur, and Rich Schmidt         Taylor, LLP                        Sean M. Beach, Shane Reil         sreil@ycst.com




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                    Exhibit B
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                                                     Exhibit B
                                            Objecting Party Service List
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                                     Description    CreditorName      Email
                                  Affected Claimant Rahul Singh  Email Redacted




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                    Exhibit C
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                                                                                                            Exhibit C
                                                                                                      Core/2002 Service List
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              Description                    CreditorName                      CreditorNoticeName                Address1                  Address2             Address3             City        State     Zip      Country
  Committee of Unsecured Creditors Barry L. Leonard & Co. Inc.           Attn: Kim Parsons                920 Brenner St                                                       Winston-Salem     NC    27101
  Top 30 and Committee of          Barry L. Leonard and Company          dba Trans Machine
  Unsecured Creditors              Inc.                                  Technologies                     Barry Leonard               920 Brenner St                           Winston-Salem     NC    27101
  Attorney General of CA (business
  operations)                      California Attorney General           Attn Bankruptcy Department       1300 I St., Ste. 1740                                                Sacramento        CA    95814-2919
  Official Committee of Equity                                                                            201 Main Street, Suite
  Security Holders                 Crestline Management, L.P.            Attn: Shaun McGowan              1100                                                                 Fort Worth        TX    76102
                                                                                                          Attn Bankruptcy             Carvel State
  Delaware State AG and DOJ            Delaware Dept of Justice          Attorney General                 Department                  Building              820 N French St    Wilmington        DE    19801
  DE Secretary of State                Delaware Secretary of State       Division of Corporations         Franchise Tax               PO Box 898                               Dover             DE    19903
                                                                                                          820 Silver Lake Blvd.,
  DE State Treasury                    Delaware State Treasury                                            Suite 100                                                            Dover             DE    19904
  Attorney General of FL (emp
  operations)                          Florida Attorney General          Attn Bankruptcy Department       PL-01 The Capitol                                                    Tallahassee       FL    32399-1050
                                                                                                                                      Grand Pavilion,       802 West Bay                                            Cayman
  Foxconn                              Foxconn (Far East) Limited                                         P.O. Box 31119              Hibiscus Way          Road               Grand Cayman            KY1-1205     Islands
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  Foxconn                              Foxconn EV Technology, Inc.       Steven Yu                        204                                                                  Cleveland         OH    44121
                                                                         c/o Hon Hai Precision Industry                          Tucheng Industrial
  Foxconn                              Foxconn Ventures Ptd. Ltd.        Co., Ltd. Attn Jerry Hsiao       No. 66, Zhongshan Road Zone                       Tucheng District   New Taipei City         23680        Taiwan
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  Attorney General of GA (emp
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                                       Hon Hai Precision Industry Co.,                                                           Tucheng Industrial
  Foxconn                              Ltd                               Attention Jerry Hsiao            No. 66, Zhongshan Road Zone                       Tucheng District   New Taipei City         23680        Taiwan
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                                       Office of the United States
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  Foxconn                              PCE Paragon Solutions Kft.                                      Komarom                        Banki Donatu utca 1                                              2900       Hungary
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  Official Committee of Equity                                                                                                                                                                                      United
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                                                                                                     Exhibit C
                                                                                               Core/2002 Service List
                                                                                             Served via First Class Mail



              Description                    CreditorName             CreditorNoticeName                   Address1             Address2              Address3               City   State      Zip       Country
  Top 30 and Committee of
  Unsecured Creditors              SA Automotive LTD             Shar Hedayat                      1307 Highview Dr                                                 Webberville     MI      48892
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                                   Securities & Exchange                                                                                          1617 JFK
  SEC Regional Office              Commission                    PA Regional Office                Regional Director       One Penn Center        Boulevard Ste 520 Philadelphia    PA      19103
                                   Securities & Exchange
  SEC Headquarters                 Commission                    Secretary of the Treasury         100 F St NE                                                      Washington      DC      20549
  Top 30 and Committee of
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  Attorney General of TX (emp
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  US Attorney for District of      US Attorney for District of
  Delaware                         Delaware                      US Attorney for Delaware          1313 N Market Street    Hercules Building                        Wilmington      DE      19801




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                                                                    Exhibit D
                                                           Objecting Party Service List
                                                           Served via First Class Mail

                                            Description    CreditorName     Address1         City State Zip
                                         Affected Claimant Rahul Singh  Address Redacted




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